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                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                  :

              v.                          :        CRIMINAL NO. 17-305

                                          :
JASON DUNLAP



                            WITHDRAWAL OF APPEARANCE

       Kindly withdraw the appearance of former Assistant United States Attorneys Joseph

Labrum and Faith Moore Taylor on behalf of the United States of America.

                                          JACQUELINE C. ROMERO
                                          UNITED STATES ATTORNEY



                                              /s/ Everett Witherell
                                          EVERETT WITHERELL
                                          Assistant United States Attorney
